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          Exhibit 9
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                                          U.S. Patent No. 9,411,472 (“’472 Patent”)
Exemplary Accused Product

        Cypress products, including at least each of the following products (and their variations) infringe at least Claim 1 of the ’472
Patent: Capsense enabled Cypress products, including MBR3, CY8CMBR2110, CY8CMBR2044, CY8CMBR2016, CY8CMBR2010,
CY8CMBR3XXX, and Capsense-enabled PSoC. The infringement chart below is based on the Cypress PSoC with CapSense
(“CapSense”), which is exemplary of the infringement of the ’472 Patent.

                   Claim                                                             CapSense
 [1pre] A touch sensor comprising:           The CapSense touchcontroller provides capacitive touch sensing functionality,
                                             including in noisy and moist environments, and is designed to operate with a touch
                                             sensor.




                                             See Getting Started with CapSense, at p. 10,
                                             https://www.cypress.com/file/41076/download




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              See Getting Started with CapSense, at p. 12,
              https://www.cypress.com/file/41076/download




              See Getting Started with CapSense, at p. 18,
              https://www.cypress.com/file/41076/download




              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 15,
              https://www.cypress.com/file/46081/download




              See Getting Started with CapSense, at p. 20,
              https://www.cypress.com/file/41076/download




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              See CSA Software Filters with Ezl2Cs Slave on CY8C20xx6, at p. 10,
              https://www.cypress.com/file/137541/download




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[1a] a plurality of sense electrodes; and   Touch sensors for CapSense have a plurality of sense electrodes, which can be in
                                            different configurations. For example, a CapSense-enabled touch sensor is a matrix
                                            touch sensor that has a plurality of sense electrodes. Alternatively, the touch sensor may
                                            be an array of capacitive-type buttons having a plurality of sense electrodes.




                                            See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 27,
                                            https://www.cypress.com/file/41076/download




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              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 25,
              https://www.cypress.com/file/41076/download




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                                            See Getting Started with CapSense, at p. 14,
                                            https://www.cypress.com/file/41076/download




                                            See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 135,
                                            https://www.cypress.com/file/46081/download

[1b] a controller communicatively           The CapSense touchcontroller is communicatively coupled to the plurality of sense
coupled to the plurality of sense           electrodes. See limitation [1a].
electrodes, the controller configured to:




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[1c] receive a plurality of signals from   The CapSense touchcontroller receives a plurality of signals from the plurality of sense
the plurality of sense electrodes          electrodes associated with an interaction with the touch sensor by an external object, the
associated with an interaction with the    plurality of signals indicative of an amount of capacitance between the touch sensor and
touch sensor by an external object, the    the external object.
plurality of signals indicative of an
amount of capacitance between the touch    For example, a plurality of signals indicative of capacitance is received by the CapSense
sensor and the external object;            touchcontroller when a finger touches the touch sensor.




                                           https://www.cypress.com/documentation/application-notes/an64846-getting-started-
                                           capsense at 16.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 76.



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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 77.



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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 78.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 79.




              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 15.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 16.



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[1d] access a stored threshold value, the   The CapSense touchcontroller accesses a stored threshold value, the threshold value
threshold value indicating a threshold      indicating a threshold magnitude of capacitance, determines a grounding status of the
magnitude of capacitance; determine a       touch sensor based on a strength of a charge return path between the touch sensor and a
grounding status of the touch sensor        ground, and adjusts the stored threshold value based on the determined grounding status
based on a strength of a charge return      of the touch sensor.
path between the touch sensor and a
ground; adjust the stored threshold value   For example, the SmartSense Auto-Tuning dynamically tunes the noise threshold and
based on the determined grounding status    finger touch thresholds based on different parameters, including the grounding status of
of the touch sensor;                        the touch sensor.




                                            https://www.cypress.com/documentation/application-notes/an64846-getting-started-
                                            capsense at 20.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 20.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 21.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 68.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 69.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 88.




              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 44.




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                                            https://www.cypress.com/documentation/application-notes/an64846-getting-started-
                                            capsense at 67.

[1e] after adjusting the stored threshold   The CapSense touchcontroller, after adjusting the stored threshold value, determines
value, determine whether to process the     whether to process the interaction as a touch by the external object based on a
interaction as a touch by the external      comparison of the amount of capacitance with the adjusted threshold value, and after
object based on a comparison of the         adjusting the stored threshold value based on the determined grounding status of the
amount of capacitance with the adjusted     touch sensor, determines that the external object has not touched the touch sensor within
threshold value; and after adjusting the    a predetermined amount of time and changes the stored threshold value back to an
stored threshold value based on the         original value, the original value comprising a value of the stored threshold value before
determined grounding status of the touch    it was adjusted based on the determined grounding status of the touch sensor.


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sensor:
determine that the external object has not   For example, after the SmartSense Auto-Tuning dynamically tunes the noise threshold
touched the touch sensor within a            and finger touch thresholds based on different parameters, including the grounding
predetermined amount of time;                status of the touch sensor, the SmartSense Auto-Tuning functionality reverts back to a
and change the stored threshold value        default or previous state having the default or previous noise and touch thresholds.
back to an original value, the original
value comprising a value of the stored
threshold value before it was adjusted
based on the determined grounding status
of the touch sensor.




                                             https://www.cypress.com/documentation/application-notes/an64846-getting-started-
                                             capsense at 20.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 20.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 21.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 68.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 69.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 88.




              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 44.




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              capsense at 67.




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